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                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY

ERIC STOBEZKI,

                         Plaintiff,
            vs.                               2:19-cv-14620-ES-SCM

EQUIFAX INFORMATION SERVICES
LLC, et al.,

                         Defendants.

       DEFENDANT EQUIFAX INFORMATION SERVICES LLC’S
       ANSWER AND DEFENSES TO PLAINTIFF’S COMPLAINT

      Defendant, Equifax Information Services LLC (“Equifax”), by Counsel, files

its Answer and Defenses to Plaintiff’s Complaint (“Complaint”) as follows:

                        PRELIMINARY STATEMENT

      In answering the Complaint, Equifax states that it is responding to

allegations on behalf of itself only, even where the allegations pertain to alleged

conduct by all Defendants. Equifax denies any and all allegations in the headings

and/or unnumbered paragraphs in the Complaint.
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                                      ANSWER

      In response to the specific allegations in the enumerated paragraphs in the

Complaint, Equifax responds as follows:

      1.     To the extent Plaintiff has properly alleged his claims, Equifax admits

the Court may exercise its jurisdiction.

      2.     Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 2.

      3.     Equifax admits that Plaintiff purports to bring a claim under the Fair

Credit Reporting Act, 15 U.S.C. § 1681 et seq. (“FCRA”). Equifax denies that it

violated the FCRA, denies that Plaintiff was damaged by any action or inaction of

Equifax, and denies that Plaintiff is entitled to any of the relief requested.

      4.     Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 4.

      5.     Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 5.

      6.     Equifax denies it is a Delaware corporation. Equifax admits the

remaining allegations in Paragraph 6.

      7.     Equifax admits the allegations in Paragraph 7.

      8.     Equifax admits the allegations in Paragraph 8.

      9.     Equifax is without knowledge or information sufficient to form a



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belief as to the truth of the allegations in Paragraph 9.

      10.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 10.

      11.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 11.

      12.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 12.

      13.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 13.

      14.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 14.

      15.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 15.

      16.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 16.

      17.    Equifax reasserts and re-alleges its responses and defenses as set forth

above in Paragraphs 1 through 16.

      18.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 18.

      19.    Equifax is without knowledge or information sufficient to form a



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belief as to the truth of the allegations in Paragraph 19.

      20.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 20.

      21.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 21.

      22.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 22.

      23.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 23.

      24.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 24.

      25.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 25.

      26.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 26.

      27.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 27.

      28.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 28.

      29.    Equifax is without knowledge or information sufficient to form a



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belief as to the truth of the allegations in Paragraph 29.

      30.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 30.

      31.    Equifax denies the allegations in Paragraph 31.

      32.    Equifax denies the allegations in Paragraph 32 as they pertain to

Equifax. Equifax is without knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in Paragraph 32.

      33.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 33.

      34.    Equifax admits that it received a dispute from Plaintiff. The dispute

speaks for itself, and to the extent that Plaintiff misstates, misquotes,

mischaracterizes or takes out of context the contents of the dispute those

allegations are denied.

      35.    Equifax admits the allegations in Paragraph 35.

      36.    Equifax denies the allegations in Paragraph 36.

      37.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 37.

      38.    Equifax denies the allegations in Paragraph 38.

      39.    Equifax admits that it sent reinvestigation results to Plaintiff, the

contents of which speak for themselves. To the extent that Plaintiff misstates,



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misquotes, mischaracterizes or takes out of context the contents of the

reinvestigation results those allegations are denied.

      40.    Equifax denies the allegations in Paragraph 40 as they pertain to

Equifax. Equifax is without knowledge or information sufficient to form a belief as

to the truth of the remaining allegations in Paragraph 40.

      41.    Equifax denies the allegations in Paragraph 41 as they pertain to

Equifax. Equifax is without knowledge or information sufficient to form a belief as

to the truth of the remaining allegations in Paragraph 41.

      42.    Equifax denies the allegations in Paragraph 42 as they pertain to

Equifax. Equifax is without knowledge or information sufficient to form a belief as

to the truth of the remaining allegations in Paragraph 42.

      43.    Equifax reasserts and re-alleges its responses and defenses as set forth

above in Paragraphs 1 through 43.

      44.    Equifax admits that Plaintiff purports to bring a claim under the

FCRA. Equifax denies that it violated the FCRA, denies that Plaintiff was

damaged by any action or inaction of Equifax, and denies that Plaintiff is entitled

to any of the relief requested.

      45.    Equifax denies the allegations in Paragraph 45.

      46.    Equifax denies the allegations in Paragraph 46.

      47.    Equifax denies the allegations in Paragraph 47.



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      48.    Equifax denies the allegations in Paragraph 48.

      49.    Equifax denies the allegations in Paragraph 49, and denies Plaintiff is

entitled to any relief claimed in the subsequent “WHEREFORE” Paragraph.

      50.    Equifax reasserts and re-alleges its responses and defenses as set forth

above in Paragraphs 1 through 49.

      51.    Equifax admits that Plaintiff purports to bring a claim under the

FCRA. Equifax denies that it violated the FCRA, denies that Plaintiff was

damaged by any action or inaction of Equifax, and denies that Plaintiff is entitled

to any of the relief requested.

      52.    Equifax denies the allegations in Paragraph 52.

      53.    Equifax denies the allegations in Paragraph 53.

      54.    Equifax denies the allegations in Paragraph 54.

      55.    Equifax denies the allegations in Paragraph 55.

      56.    Equifax denies the allegations in Paragraph 56, and denies Plaintiff is

entitled to any relief claimed in the subsequent “WHEREFORE” Paragraph.

      57.    Equifax reasserts and re-alleges its responses and defenses as set forth

above in Paragraphs 1 through 56.

      58.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 58.

      59.    Equifax is without knowledge or information sufficient to form a



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belief as to the truth of the allegations in Paragraph 59.

      60.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 60.

      61.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 61.

      62.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 62.

      63.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 63.

      64.    Equifax reasserts and re-alleges its responses and defenses as set forth

above in Paragraphs 1 through 64.

      65.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 65.

      66.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 66.

      67.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 67.

      68.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 68.

      69.    Equifax is without knowledge or information sufficient to form a



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belief as to the truth of the allegations in Paragraph 69.

      70.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 70.

      71.    Equifax reasserts and re-alleges its responses and defenses as set forth

above in Paragraphs 1 through 70.

      72.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 72.

      73.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 73.

      74.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 74.

      75.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 75.

      76.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 76.

      77.    Equifax is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 77.

      78.    Equifax reasserts and re-alleges its responses and defenses as set forth

above in Paragraphs 1 through 77.

      79.    Equifax is without knowledge or information sufficient to form a



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 belief as to the truth of the allegations in Paragraph 79.

       80.    Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 80.

       81.    Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 81.

       82.    Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 82.

       83.    Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 83.

       84.    Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 84.

       85.    Equifax reasserts and re-alleges its responses and defenses as set forth

 above in Paragraphs 1 through 84.

       86.    Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 86.

       87.    Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 87.

       88.    Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 88.

       89.    Equifax is without knowledge or information sufficient to form a



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 belief as to the truth of the allegations in Paragraph 89.

       90.    Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 90.

       91.    Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 91.

       92.    Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 92.

       93.    Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 93.

       94.    Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 94.

       95.    Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 95.

       96.    Equifax reasserts and re-alleges its responses and defenses as set forth

 above in Paragraphs 1 through 95.

       97.    Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 97.

       98.    Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 98.

       99.    Equifax is without knowledge or information sufficient to form a



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 belief as to the truth of the allegations in Paragraph 99.

       100. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 100.

       101. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 101.

       102. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 102.

       103. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 103.

       104. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 104.

       105. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 105.

       106. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 106.

       107. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 107.

       108. Equifax reasserts and re-alleges its responses and defenses as set forth

 above in Paragraphs 1 through 107.

       109. Equifax is without knowledge or information sufficient to form a



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 belief as to the truth of the allegations in Paragraph 109.

       110. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 110.

       111. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 111.

       112. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 112.

       113. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 113.

       114. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 114.

       115. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 115

       116. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 116.

       117. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 117.

       118. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 118.

       119. Equifax reasserts and re-alleges its responses and defenses as set forth



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 above in Paragraphs 1 through 118.

       120. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 120.

       121. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 121.

       122. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 122.

       123. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 123.

       124. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 124.

       125. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 125.

       126. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 126.

       127. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 127.

       128. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 128.

       129. Equifax is without knowledge or information sufficient to form a



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 belief as to the truth of the allegations in Paragraph 129.

       130. Equifax is without knowledge or information sufficient to form a

 belief as to the truth of the allegations in Paragraph 130.

       131. Equifax admits Plaintiff demands a trial by jury.

       132. Equifax denies that the Plaintiff is entitled to any relief claimed in his

 Prayer for Relief.

       133. Any allegation in Plaintiff’s Complaint not heretofore specifically

 responded to by Equifax is hereby denied.

                                         DEFENSES

       Without assuming the burden of proof where it otherwise rests with Plaintiff,

 Equifax pleads the following defenses to the Complaint:

                                   FIRST DEFENSE

       At all pertinent times, Equifax maintained reasonable procedures to assure

 maximum possible accuracy in its credit reports.

                                  SECOND DEFENSE

       Equifax has complied with the Fair Credit Reporting Act in its handling of

 Plaintiff’s credit file and is entitled to each and every defense stated in the Act and

 any and all limitations of liability.

                                   THIRD DEFENSE

       Plaintiff cannot meet the requirements of 15 U.S.C. § 1681n in order to



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 recover punitive or statutory damages.

                                  FOURTH DEFENSE

       Equifax adopts by reference the defenses, criteria, limitations, standards and

 constitutional protections mandated or provided by the United States Supreme

 Court in the following cases: BMW v. Gore, 517 U.S. 559 (1996); Cooper Indus.,

 Inc. v. Leatherman Tool Group, Inc., 532 U.S. 424 (2001); State Farm v.

 Campbell, 538 U.S. 408 (2003), and Safeco Insurance Co. of America v. Burr, 551

 U.S. 47 (2007).

       Equifax reserves the right to assert additional defenses that it learns through

 the course of discovery.

       WHEREFORE, having fully answered or otherwise responded to the

 allegations in Plaintiff’s Complaint, Equifax prays that:

       (1)      Plaintiff’s Complaint be dismissed in its entirety and with prejudice,

 with all costs taxed against Plaintiff;

       (2)      it be dismissed as a party to this action;

       (3)      it be awarded its attorney’s fees under 15 U.S.C. § 1681n(c) and/or 15

 U.S.C. § 1681o(b);

       (4)      it recover such other and additional relief as the Court deems just and

 appropriate.




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      Respectfully submitted this 9th day of August, 2019.

                                      CLARK HILL PLC

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